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Attorneys for Plaintiffs

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

 

ROBERT TAYLOR and VERONICA J.
TAYLOR, husband and Wife,

Plaintiffs,

VS.

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURGH, PA, a
foreign corporation, LOTSOLUTIONS, I'NC.,
a foreign corporation, AIG CLAIMS, INC., a
foreign corporation, formerly known as
CHARTIS CLAIMS, INC., WELLS FARGO
BANK, N.A., a foreign corporation, and
JOHN DOES l through X, and BUSINESS
ENTITY DOES 1 through X,

Defendants.

 

Case No. 4:14-cv»00079-BLW

THIRD AMENDED COMPLAINT AND
DEMAND FOR JURY TRIAL

 

 

 

COME NOW, the Plaintiffs, by and through their attorneys of record, and complain and

allege as follows:

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - f

 

 

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PARTIES

l. At all times material hereto Robert Tayior and Veronica 'i`aylor resided in the City
of ldaho Falls, County of Bonneville, Idaiio.

2. At all times material hereto, Defendant National Union Fire Insurance Company
of Pittsburgh, PA. (hereinafter “National”) has been and now is an insurance company domiciled
in Pennsylvania, which was registered and did solicit and sell insurance in the State of Idaho.

3. At all times material hereto, Det`endant LotSolutions, Inc., (hereinafter “LOTS”)
has been and now is a Georgia corporation which was registered to do business in the State of
Idaho and, as alleged below, has engaged in the transaction of its business in the State of Idaho.

4. At all times material hereto, Defendant AIG Clairns, lnc., (hereinaiter AIG)
formerly known as Chartis Claims, inc., has been and now is a Delaware corporation which was
registered to do business in the State of Idaho, and, as alleged below, has engaged in the
transaction of its business in the State of Idaho. AIG is the successor in interest to Chartis
Claims, Inc.

5. At ail times material hereto, Defendant Wells F argo Bank, N.A., has been and
now is a national banking association which was registered to do business in the State of ldaho,
and, as alleged below, has engaged in the transaction of its business in the State of Idaho.

6. The true names and capacities, Whether individual, corporate, associate, or
otherwise of Det`endants Does l through X, and Business Entity Does I through X, are unknown
to Plaintiffs at this time. Plaintift`s sue those Defendants by such fictitious names and Will amend
this Complaint to show their true names and capacities when they have been ascertained
Plaintiffs are informed and believe, and on the basis of such information and belief alleges, that
each of the Defendants designated as a Doe is negligently or otherwise legaliy responsible for the

events and happenings referred to in this Cornplaint, and negligently or otherwise unlawfully

THIRD AMENDED COMPLAINT ANI) DEMAND FOR JURY TRIAL - 2

 

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caused the injuries and damages to the Plaintiffs alleged in this Compiaint.

7. The professional and business relationships of Defendants to one another are not
known to Plaintiffs at this time.

FACTUAL CONTENT

8. Plaintiff Veronica J. Taylor acquired flve different Blani<et Accident Insurance
Policies with National which were marketed to her through Weils Fargo Banl<, N.A. (Welis
Fargo). When Plaintiff Veronica J. 'i`aylor made banking inquiries over the phone, the
Defendant’s representatives would then market the policies over the phone This occurred on
multiple occasions, the exact dates of which are not known Defendant Wells Fargo has records
of the dates of the calls. The identities of the sales agents are not known lt was represented to
Plaintiff that they were employees of Wells Fargo who were making these offers to Welis Fargo
customers The Wells Fargo agents represented that these policies were offered to her because
she was a valued customer to the bank. Each time after the first policy was purchased, the Wells
Fargo agents represented that the policies would provide coverage in addition to the previously-
purchased policy or policies The effective dates of the policies at issue are October 21, 2008,
November 19, 2008, and March 15, 2009.

9. The policies were issued in association with Plaintiffs’ Wells Fargo checking
account Plaintiff Veronica .l. Taylor was told that she was being offered these policies because
of her status as an account holder at the bank. The premiums were withdrawn directly from her
checking account

10. The policies at issue in this case are identified as Policy # 48161172, # 481611'73,
and #48432007, (hereinafter “the policies”) and which provided, in the event of an accident,

disability and/or various medical treatments, for insurance coverage

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ll. Wells Fargo told the Plaintiffs that each new policy purchased would provide
additional coverage to that provided by the previously-purchased policies Additionally, when
selling the policies to the Plaintiffs, the agents failed to disclose limitations contained in the
policies idaho Insurance Regulation l8.01.24 requires that all limitations of a disability policy be
disclosed at the time of the sale. The limitations and exclusions contained in the disability
policies were not disclosed during the sale of those policies instead, each sale was accompanied
with representations that the additional policy would provide additional coverage beyond what
was in the policies purchased previouslyl With each sale, the Wells Fargo agents represented that
the policies would provide benefits, including total disability benefits, in the event of an
accidental loss

ll Plaintift’s monthly premiums were regularly charged to her Wells Fargo Bank
checking account. Plaintiff was current on her premiums at all relevant times hereto

13. On November 16, 2011, Veronica Taylor tripped and violently fell down stairs
and suffered a stroke as a result of the impact of the fall. The accident-related stroke caused
herniplegia and left her permanently disabled and unable to engage in her usual activities or the
usual activities of a similar person in similar health prior to the loss. This incident was an
accident as defined in the policies for which coverage applied The aforementioned policies
provided permanent total disability benefits in the event Ms. Taylor suffered an accident such as
this.

14. Plaintiff Veronica J. Taylor filed claims with National for benefits pursuant to the
policies following each of her accidents Following the filing of each of these claims, Plaintiff
was contacted by LOTS and AIG, and thereafter communicated with LOTS and/or AIG regarding

the adjustment of the claims The LOTS and AIG employees who communicated with Plaintiffs

TH}RD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - 4

 

 

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stated that they were handling the claims for Defendant National.

15. On information and belief Plaintiffs allege that LOTS, through agency, contract,
or agreement with National, directs, handles, administers and adjusts insurance claims submitted
by policyholders of National.

16. On information and belief Plaintiffs allege that AIG, through agency, contract, or
agreement with National, directs, handles and processes insurance claims submitted by
policyholders of National.

17. On multiple occasions LOTS and AIG requested documents and records and on
each occasion these documents were obtained by Plaintiffs and supplied to LOTS by them or at
their request Often LOTS and AIG would request the same documents that had already been
submitted, or that Plaintiffs had authorized LOTS and AIG to obtain. The claims would never be
assigned to a single claims adjuster who was responsible for handling the claims or answering
questions

18. LOTS made its last request for records on December 6, 2012.

l9. Neither LOTS nor AIG has made any further requests for records and has not sent
any other written communication to Plaintiffs since July 3, 2013.

20. National has not made payment for at least 34,500,000.00 in permanent disability
coverage available under the various policies The disability claims were assigned claim numbers
95815333, 95860828, 95841324, 95815334, and 95815358.

21. A $lO0,000 total disability claim was denied under policy number 48161172 on
February 21, 2012. The claim was assigned claim number 95815333. The disability benefit is
payable as a lump sum. The denial was communicated by way of a form letter that gave only the

following reason for the denial: “Sickness, disease, mental incapacity or bodily infirmity is not

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - 5

 

 

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covered under this policy.” Ms. 'I`aylor had met all conditions precedent to receive the benefits as
she was current on her premium and had suffered an accident that had left her permanently
disabled

22. A $2,000,000 total disability claim was denied under policy number 48161173 on
February 21, 2012. The claim was assigned three different claim numbers: 95860828, 95 841324,
and 95815334. The disability benefit was payable as a iump sum. The denial was communicated
by way of a form letter under claim number 95815334 that gave only the following reason for the
denial: “Sickness, disease, mental incapacity or bodily infirmity is not covered under this policy.”
Ms. Taylor had met all conditions precedent to receive the benefits as she was current on her
premium and had suffered an accident that had left her permanently disabled

23. A $2,400,000 total disability claim was denied under policy number 48432007.
The claim was assigned claim number 95815358. This policy provided for a monthly benefit of
$20,000.00 for ten years l\/ls. 'l`aylor had met all conditions precedent to receive the benefits as
she was current on her premium and had suffered an accident that had left her permanently
disabled The claim was denied on February 22, 2012. Plaintiffs do not have a copy of this denial
letter. l-Iowever, Defendants’ documents submitted to the Department of Insurance indicate that
this claim was denied because “treatment for sickness diseases, mental incapacity or bodily
injury is not compensable under the Plan.”

24. The above-referenced denial letters did not state what information had been
reviewed or what facts were relied on in denying the claim. The letters did not cite to any policy
provisions that formed the basis for the denials Both letters were signed by “Claims
Department,” and did not contain a phone number. This made communication regarding these

claims very difficult as the Plaintiffs did not have a point of contact to discuss their claims with

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the Defendants.

25. Defenda_nts National, LOTS and AIG intentionally denied the Plaintiffs’ disability
claims The denials were totally unjustified as Plaintiff Veronica J. 'l`aylor’s accidental fall
caused the hemiplegia and resulting total disability, thus meeting the necessary requirements for
payment under the policies The specific grounds for the denials of coverage have never been
fully set forth in writing. There was no fair debate as to whether the claim should have been paid
as Defendants’ National, LOTS, and AlG were in possession of Plaintist medical records and
all other necessary documents to pay the claim. National, LOTS, and AIG denied the disability
claims with full knowledge of the Plaintist medical condition and the cause of the loss.
Therefore, the denial was not the result of a good faith mistake The delay and or denial of these
claims is unreasonable and intentional as National, LOTS, and AIG implemented substandard
adjusting procedures that led to these claims being denied or closed without being fully adjusted
by the companies

26. The denial of the claims has left the Plaintiffs financially devastated. Plaintiff
Veronica J. Taylor has been unable to work and has incurred substantial amounts of medical
bills She counted on the insurance to be there when she needed it. Plaintiff Robert Taylor has
had to care for his spouse, which has made it difficult for him to engage in other employment
'l`he denials of the benefits the Plaintiffs paid for caused thern great distress, worry, anxiousness,
mental anguish, and loss of sleep. Plaintiffs have felt abandoned by the company they counted on
to protect them in the event of a catastrophe such as the herniplegia. The Plaintiffs purchased
these policies for protection and peace of mind National, LOTS, and AIG’s unjustified denials
have robbed Plaintiffs of the peace and security they had believed they purchased

27. LOTS and AIG employees are trained to handle claims in the manner in which

THIRD AMENDED COMPLAENT AND DEMAND FOR JURY TRlAL - 7

 

 

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they handled the Plaintiffs’ claims Defendants have established these confusing adjusting
procedures as the manner in which claims should be adjusted Because the employees were
handling the claims in the manner in which they had been trained, the denials and delays were
not the result of a good faith mistake These adjusting practices are designed to create several
tiers of adjusters responsible for claims decision making Because National has delegated the
decision making and adjusting responsibilities to LOTS and AIG, claims will often get denied or
closed without full adjusting and without National having involvement in the claim or
knowledge that the claim had been submitted These procedures are designed to create a high
attrition of claims and deliberately make the claims process difficult policyholders to navigate.

28. National, LOTS, and AIG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims Because of` their civil
conspiracy, each of these defendants can be responsible for the claims alleged below.

29. Plaintiffs have provided all of the information and release forms which were
requested by National or LOTS or AlG and have provided proofs of loss pursuant to ldaho Code
§ 41-1839 which were sufficient to permit National, LOTS and AIG to evaluate the claims and
reach a decision relative to the claim.

30. l\/lore than 30 days has passed since Plaintiffs provided qualifying proofs of loss to
National, LOTS and AIG and no payments have been made upon the policy.

COUNT ONE - BREACH OF CONTRACT
(Defendants National, LOTS, and AIG)

31. Plaintiffs reallege the allegations contained in each and every paragraph herein

above.

32. All conditions precedent to cause National to be liable to pay benefits pursuant to

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - 8

 

 

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the policies have been performed or have occurred including timely payment of all premiums,
properly filing a proof of claim and supporting documents with National through its agents,
LOTS and AIG.

33. A $100,000 total disability claim was denied under policy number 48161172 on
February 2l , 2012. The claim was assigned claim number 95815333. A $2,000,000 total
disability claim was denied under policy number 4816l173 on February 21, 20l2. 'l`he claim
was assigned three different claim numbers: 95 860828, 9584l324, and 95815334. A $2,400,000
total disability claim was denied under policy number 48432007 on February 22, 2012. The
claim was assigned claim number 95815358. All three claims were denied

34. `National’s failure or refusal to pay benefits under the policies was unjustified and
amounted to a breach of contract because the disability was caused by an accidental fall, not
Sickness, disease, mental incapacity or bodily intirmity.

35. National’s breach of the contracts for accident insurance caused Plaintiffs to suffer
damages and financial hardship.

36. Plaintiffs are entitled to an award of the benefits of the policies, and such other
damages as may be proven at trial.

37. National, LOTS, and AIG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims Because of their civil
conspiracy, each of these defendants are responsible for the breach of contract

COUNT TWO - BAD FAITH
(Defendants National, LOTS, and AIG)

38. Plaintiffs reallege the allegations contained in each and every paragraph herein

above.

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - 9

 

 

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39. All conditions precedent to cause National to be liable to pay benefits pursuant to
the policies have been performed or have occurred including timely payment of all premiums
and properly filing proofs of claim and supporting documents with National through its agents,
LOTS and AIG.

40. Defendants National, LOTS and AIG, intentionally denied the Plaintiffs’
disability claims The denials were totally unjustified as Plaintiff Veronica J. Taylor’s accidental
fall caused the hemiplegia. The specific grounds for the denials of coverage have never been fully
set forth in writing. 'l`here was no fair debate as to whether the claim should have been paid as
Defendants’ National, LOTS, and AIG were in possession of Plaintiff’ s medical records and all
other necessary documents to pay the claim. National, LOTS, and AIG denied the disability
claims with full knowledge of the Plaintiff’s medical condition and the cause of the loss
Therefore, the denial was not the result of a good faith mistake

41. The denial of the claims has left the Plaintiffs financially devastated. Plaintiff
Veronica J. 'l`aylor has been unable to work and has incurred substantial amounts of medical
bills. She counted on the insurance to be there. The denials of the benefits the Plaintiffs paid for
caused them great distress, worry, anxiousness, mental anguish, and loss of sleep. Plaintiffs have
felt abandoned by the company they counted on to protect them in the event of a catastrophe such
as the hemiplegia. The Plaintiffs purchased these policies for protection and peace of mind
National, LOTS, and AlG’s unjustified denials have robbed Plaintiffs of the peace and security
they had believed they purchased

42. lnstitutional bad faith is a corporate philosophy, implemented in a series of
procedures that emphasizes minimizing insurance claims to the detriment of policyholders
l\lational, LOTS and AIG engaged in institutional bad faith by creating procedures that deter

claims The procedures include sending multiple requests for the same documents, creating

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multiple levels of adjusters with different levels of authority to pay claim, or even answer
questions about a claim. These procedures also include closing a claim without advising the
insured or actively investigating the claim, National, through LOTS, would send denial letters
that did not include a clear explanation for the denial, the facts or information relied on for the
denial, or even provide an adjuster’s name or information so that the insured has someone they
can contact for guidance on the claim. These procedures deterred the Plaintiff’s from making
claims, getting accurate information about their claims, or receiving benefits they were entitled to
under the policy because the entire process was difficult for the insureds to navigate. National,
LOTS, and AIG deliberately created these claims handling procedures in an effort to deter claims
and minimize claims payouts. Using the procedures to deter the Plaintiffs’ claims and payout on
those claims amounts to bad faith

43. National’s failure or refusal to pay benefits due under the policies and/or the
complete failure of either National or LOTS or AIG to provide a complete written denial, to
provide any lawful basis for a denial of the claims for benefits and to adjust the manner in
conformance with applicable statutes and regulations are totally unjustified conduct which
amounts to an extreme deviation from the standards of the industry

44. 'l`he conduct of National and/or LOTS and/or AIG constitute, under these

circumstances to the tort of bad faith. Each of these defendants was an active participant in the
conduct amounting to bad faith.

45. Plaintiffs also believe that the practices utilized by National, LOTS and AIG are
designed to deprive National’s insureds, such as Plaintiffs, of the benefits owed pursuant to the
policy; such practices amount to the tort of bad faith

46. Defendants’ failure to act in good faith proximately caused Plaintiffs to suffer

damages beyond the amount of the policy benefits These damages include the aforementioned

THIRB AMENDED COMPLAINT AND DEMAND FOR .]URY TRIAL - l l

 

 

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financial devastation, mental anguish, stress, sleepless nights, and emotional distress resulting
from their claims not being paid following the accidental losses

47. Plaintiffs are entitled to an award of general and special damages as may be
proven at trial.

43. National, LOTS, and AlG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims Because of their civil
conspiracy, each of these defendants are responsible for the bad faith.

COUNT THREE - FRAUD
(Defendants Wells Fargo and National)

49. Plaintiffs reallege the allegations contained in each and every paragraph
hereinabove

50. Defendants National and Wells Fargo engaged in conduct designed to deceive
Plaintiffs into purchasing policies that Defendants knew would not pay the benefits as promised
This was accomplished by Wells F argo representatives telling the Plaintiffs that these policies
would provide coverage for these losses Specifically, the Wells Fargo agents stated that the
policies would provide coverage in the event of an accident Additionally, with each additional
policy purchased, Plaintiffs were told that they would receive coverage in excess of that which
they already had though the prior purchases These representations were made at the time of each
of the Plaintiff’s phone calls to inquire about her accounts Wells Fargo has records of these calls
with the act date, time, and the names of the Wells Fargo representatives making the
representations These representations were false because the policies have not covered these
losses or provided excess coverage as pled in great detail in the foregoing paragraphs ln actuality

the policies contain high, unobtainable limits that cannot be reached because of the

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aforementioned adjusting practices implemented by National, LOTS, and AIG. Wells Fargo was
aware that the policies would not pay as promised when the policies were being sold

51. Plaintiffs relied on Defendants Wells Fargo’s representations that these polices
would provide coverage in the event of a loss. Believing what Defendant Wells Fargo told them
regarding the policies, Plaintiffs purchased each of the aforementioned policies and authorized
premiums to be withdrawn from their bank account

52. Defendant National was an active participant in the fraud as it authorized Wells
F argo to market the policies in this manner and the company benefited from the sale of the
policies National was fully aware of the marketing procures used and the representations being
made regarding its policies National knew that key information regarding the policies like the
limitations and exclusions and the narrow construction of the policy that National used to deny
claims were not being disclosed to the insured at the time of purchase

53. Because National, AIG, and LOTS’ adjusting practices (stated previously in this
complaint) were designed to frustrate and prevent the Plaintiffs’ attempts to provide conforming
proof of loss and to deny policies on wholly inadequate and unjustified grounds, Defendant
National never intended to pay the benefits as promised under the contract and when the polices
were sold to the Plaintiffs

54. idaho lnsurance Regulation 18.01.24 requires that all limitations of a disability
policy be disclosed at the time of the sale. The limitations and exclusions contained in the
disability policies were not disclosed during the sale of those policies Instead, each sale was
accompanied with representations that the additional policy would provide additional coverage
beyond what was in the policies purchased previously However, as pled above, Defendants have

construed these policies in a manner that has prevented the benefits from being paid The failure

THIRD AMENDED COMPLAZNT AND DEMAND FOR J`URY TRIAL » 13

 

 

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to disclose the limitations constitute fraud and fraud by silence Such fraud proximately caused
Plaintiffs to suffer damages because the poiicies did not pay the benefits as promised When the
Wells F argo agents Sold the policies.

55 . Plaintiffs are entitled to an award of damages, both special and general, in an
amount to be proven at trial. The damages include their policy benefits that would have been paid
had the ciairns had been paid as promised, general damages for the mental anguish and emotional
distress, attorneys fees and other damages to be proven at trial. As a direct and approximate result
of Defendants’ fraudulent conduct, Piaintiffs did suffer emotional distress in the form of worry,
anxiousness, mentai anguish, and loss of sleep. They have suffered financial distress as a result
of their claims not being paid. Plaintiffs have felt abandoned by the company they counted on to
protect them in the event of a catastrophe such as the hemiplegia. The Plaintiffs purchased these
policies for protection and peace of mind. The unjustified denials have robbed Plaintiffs of the
peace and security they had believed they purchased The fraudulent marketing of these policies
has put them in a position of paying for security, but having that security disappear when they
Suffered this catastrophic loss. As a result of their distress, Plaintiffs’ are entitled to
compensation for such injury in an amount to be proven at trial.

56. Wells Fargo and National have conspired to sell these policies and collect
premium with full knowledge that the policies Would not pay according the representations that
were made. Because of their civil conspiracy, each of these defendants can be responsible for the
fraud

COUNT FOUR - ATTORNEY FEES
(Ali Defendants)

57. Plaintiffs reallege the allegations contained in each and every paragraph

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - 14

 

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hereinabove

5 8. As a result of Defendants’ conduct, Plaintiffs have hired the law firm of Pedersen
and Whitehead to prosecute this action.

59. Plaintiffs are entitled to reasonable attorney fees under Idaho Code §§ 12- 120 and
121 and § 41-1839 relating to attorney fees and suits against insurers

DAMAGES

60. As a proximate and/or producing result of Defendants’ conduct (described above),
Plaintiffs have suffered substantial damages including special damages, general damages,
consequential damages, attomey fees and the costs incident to prosecuting this action, all in an
amount to be proven at trial.

61. Considering each of these elements of damage, Plaintiffs have suffered damages
in excess of the jurisdictional requirements of this Court.

62. Plaintiffs respectfully request that a jury determine the amount of losses Plaintiffs
have incurred in the past and will incur in the future financial hardship which would have been
avoided by proper performance under the contract of insurance This hardship has put needless
and avoidable stress upon Plaintiffs and caused them financial damages, anguish and suffering

PRAYER
WHEREFORE, Plaintiffs pray for judgment in their favor and against Defendants for:
l. Upon all counts against Defendants, jointly and severally, for special and general

damages in an amount in excess of the jurisdictional limits of this Court',

2. For reasonable attorney’s fees and costs herein;
3. For costs of suit incurred herein; and
4. For such other and further relief as the Court may deem proper.

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY 'I`RIAL - 15

 

 

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DEMAND FOR JURY TRIAL
Plaintiff hereby demands trial by a jury of at least twelve (12) members on all issues in

the above~entitied matter.
DATED this 20th day of April, 2015.

PEDERSEN and WHITEHEAD

By ./s/ Brian .l. l-Iilverda
Brian J. Hilverda, ISB #7952
Attorney for Plaintiffs

CERTIFICATE OF SERVICE

I hereby certify that on the 20th day of April, 2015, I served a copy of the foregoing
THIRD AMENDED COMPLAINT AND DEMAND FOR .lURY TRIAL, on CM/ECF
Registered Participants as reflected on the Notice of Electronic Filing as follows:

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